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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                 )
 LISA PAGE,                                      )
                                                 )
               Plaintiff,                        )
                                                 )      Case No. 1:19-cv-03675-TSC
        v.                                       )
                                                 )
 U.S. DEPARTMENT OF JUSTICE, et al.,             )
                                                 )
               Defendants.                       )
                                                 )
                                                 )

                         NOTICE OF WITHDRAWAL OF
                  GRACE X. ZHOU AS COUNSEL FOR DEFENDANTS

       Pursuant to D.C. Local Civil Rule 83.6(b), Grace X. Zhou hereby withdraws her

appearance as counsel for Defendants in the above-captioned case. Bradley P. Humphreys and

Michael J. Gaffney have previously entered appearances and remain as counsel for Defendants.



Dated: January 19, 2021                           Respectfully submitted,


                                                  /s/ Grace X. Zhou
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                                  MARCIA BERMAN
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                                  /s/ Bradley P. Humphreys
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